 Case 2:22-cv-00293-JRG          Document 704 Filed 05/18/24             Page 1 of 2 PageID #:
                                          65500



                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 NETLIST, INC.,                                 )
                                                )
                 Plaintiff,                     )
                                                )         Case No. 2:22-cv-293-JRG
         vs.                                    )
                                                )         JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS CO., LTD.,                 )
 SAMSUNG ELECTRONICS AMERICA,                   )
 INC., SAMSUNG SEMICONDUCTOR,                   )
 INC.,                                          )
            Defendants.                         )
                                                )


       NOTICE OF JURY VERDICT IN FAVOR OF PLAINTIFF NETLIST, INC.

       Plaintiff Netlist, Inc. submits this notice informing the Court of the unanimous jury verdict

entered in Netlist, Inc. v. Samsung Elec. Co., Ltd., No. 20-cv-993-MCS-ADS, Dkt. 556 (C.D. Cal.

May 17, 2024) (the “CDCA Action”). A copy of the jury verdict is attached as Exhibit A. On

May 17, 2024, following a four-day trial before the Honorable Mark C. Scarsi, a jury in the Central

District of California found that: (1) Defendant Samsung Electronics Co., Ltd. (“Samsung”)

“agreed to supply NAND and DRAM products to Netlist without limitation to the parties’

NVDIMM-P joint development project on Netlist’s request at a competitive price;” and (2)

Samsung materially breached Section 6.2 of the Joint Development and License Agreement

(“JDLA”). Ex. A at 3. There is no dispute that Netlist’s termination of the JDLA was effective in

light of the material breach. CDCA Action, Dkt. 186 (Summary Judgment Order) at 18 (“Netlist

Complied with the Termination Term”).




                                                    -1-
Case 2:22-cv-00293-JRG         Document 704 Filed 05/18/24            Page 2 of 2 PageID #:
                                        65501



Dated: May 18, 2024                         Respectfully submitted,

                                            /s/ Jason G. Sheasby

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                                            Attorneys for Plaintiff Netlist, Inc.

                              CERTIFICATE OF SERVICE

      I hereby certify that, on May 18, 2024, a copy of the foregoing was served to all counsel

of record via the ECF/CM system.

                                                  /s/ Yanan Zhao
                                                  Yanan Zhao




                                              -2-
